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		Welcome to the  Supreme Court of Georgia. 

		
		Our goal is to provide the bench, bar and general public with timely and accurate information about the Supreme Court and the administration of justice in Georgia.  
	
	
	
		
		
		

		
		 

		
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		Opinions are published an average of twice a month.  On Fridays at 2 p.m., we will provide on our website a list of  any opinions due to come out the following Monday. 
	
	
	
		
		
		

		
		 

		
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							Supreme Court of Georgia244 Washington Street,&nbsp;Suite&nbsp;572
Atlanta, Georgia 30334
Phone: (404) 656-3470
FAX: (404) 656-2253
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											News and Reports		
											
					12/6/17 – JUDGE WHITAKER TO HEAR GEORGIA SUPREME COURT CASE
									
											
					12/6/17 – JUDGE PHELPS TO HEAR GEORGIA SUPREME COURT CASE
									
											
					12/6/17 – JUDGE SMITH TO HEAR GEORGIA SUPREME COURT CASE
									
					
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